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     SCOTT SMITH
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                                 UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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11
     LUIS LORENZO VARGAS,                        CASE NO. CV16-08684 SVW (AFMx)
12                                               Hon. Stephen V. Wilson, Ctrm. 10A
                                                 Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.
13                  Plaintiff,
                                                 DEFENDANTS’ NON-OPPOSITION TO
14         v.                                    PLAINTIFF’S MOTION IN LIMINE
                                                 NO. 3; DEFENDANTS’ REQUEST TO
15                                               DEFER RULING ON MOTION
     CITY OF LOS ANGELES, et al.
16                                               Hearing: 6/10/19
                    Defendants.                  Time:        1:30 p.m.
17                                               Place:       Courtroom 10A
                                                 First Street Courthouse
18                                               350 West 1st Street
                                                 Los Angeles, CA 90012-4565
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                Defendants do not oppose Plaintiff’s Motion in Limine No. 3 to exclude
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     plaintiff’s immigration status so long as plaintiff does not open the door. Defendants
22
     request the Court defer a ruling on this motion at this time.
23
     Dated: May 20, 2019           MICHAEL N. FEUER, City Attorney
24                                 JAMES P. CLARK, Chief Deputy City Attorney
                                   CORY M. BRENTE, Assistant City Attorney
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                                   By:    /s/ Geoffrey Plowden
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                                                                                  .




                                    GEOFFREY PLOWDEN, Deputy City Attorney
27                                 Attorneys for Defendants CITY OF LOS ANGELES,
                                   LOS ANGELES POLICE DEPARTMENT, MONICA
28                                 QUIJANO, RICHARD TAMEZ and SCOTT SMITH
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        Plaintiff had significant issues with his immigration status during the time of his

 4   arrest and incarceration. If he was unable to prove his citizenship, or ability to work

 5   legally in this country, then that could impact his lost earnings/lost earnings capacity

 6   claim. Based on conversations with counsel, plaintiff will not be making a lost earnings

 7   capacity claim at trial. He has not retained an economist to opine on that subject.

 8        So long as plaintiff does not state, or imply, that he was a valid U.S. citizen during

 9   the trial, then defendants need not comment upon, or introduce evidence of, plaintiff’s

10   immigration status. Defendant agrees not to introduce any such evidence without first

11   seeking the Court’s permission to do so, outside the presence of the jury.

12        As we do not know yet if plaintiff will make his immigration status an issue,

13   defendants request the Court defer a ruling on this motion.
14   Dated: May 20, 2019        MICHAEL N. FEUER, City Attorney
                                JAMES P. CLARK, Chief Deputy City Attorney
15                              CORY M. BRENTE, Assistant City Attorney
16                              By:    /s/ Geoffrey Plowden                   .




                                 GEOFFREY PLOWDEN, Deputy City Attorney
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                                Attorneys for Defendants CITY OF LOS ANGELES,
18                              LOS ANGELES POLICE DEPARTMENT, MONICA
                                QUIJANO, RICHARD TAMEZ and SCOTT SMITH
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